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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION



 MARY THOMAS,
                                                Case No. 1:18-cv-01494-CMH-JFA
               Plaintiff,
       vs.



CAPITAL ONE BANK(USA),N.A,

                  Defendant.




                            [PROPOSED]ORDER OF DISMISSAL

        Plaintiff, Mary Thomas ("Plaintiff), and Defendant, Capital One'Bank (USA), N.A.,

 ("Defendant"), having filed a Joint Stipulation of Dismissal and the Court being otherwise

 sufficiently advised,

        IT IS HEREBY ORDERED that Plaintiffs complaint against Defendant is

 DISMISSED with prejudice. Each party shall bear their own costs and attorney's fees.


        It is so ORDERED.




 Dated:^                                   Claude M. Hilton
                                           United States-^iulugJulMbLi Judge
